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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
HENRY ARGUDO et al., on behalf of themselves and                       :
others similarly situated,                                             :
                                                                       :
                                    Plaintiffs,                        :   18-CV-678 (JMF)
                                                                       :
                  -v-                                                  :        ORDER
                                                                       :
PAREA GROUP LLC et al.,                                                :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        As discussed, and for the reasons stated, on the record during the telephone conference

conducted on January 7, 2021:

            Plaintiffs shall make any motion for contempt sanctions by formal motion in
             accordance with the Federal Rules of Civil Procedure and Local Rules no later than
             January 12, 2021. Defendants shall file any opposition no later than January 22,
             2021. Any reply shall be filed no later than January 26, 2021.

            No later than January 13, 2021, counsel for Defendants shall either file a notice of
             substitution of counsel; move to withdraw; or indicate that a change of counsel is not
             necessary. Any motion to withdraw should indicate whether Plaintiffs or Defendants
             intend to oppose the motion and, if so, propose an expedited schedule for resolving
             the motion.

            Plaintiffs shall move for final approval of the proposed class action settlement no
             later than January 21, 2021. Any opposition shall be filed no later than January 26,
             2021. No reply may be filed absent leave of Court.

        Unless and until the Court orders otherwise, the fairness hearing will proceed as

scheduled on January 28, 2021 at 3:00 p.m. and will be conducted remotely by teleconference.

At least twenty-four hours before the conference, counsel shall send a joint email to the Court

with the names and telephone numbers of those who will have speaking roles at the conference,
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and the Court will provide call-in information to those counsel. All others — counsel who will

not have speaking roles, class members, and members of the public — may listen to the

conference by calling the Court’s dedicated conference call line at (888) 363-4749 and using

access code 542-1540 followed by the pound (#) key. The parties are reminded to follow the

procedures for teleconferences described in the Court’s Emergency Individual Rules and

Practices in Light of COVID-19, which are available at https://nysd.uscourts.gov/hon-jesse-m-

furman.


       SO ORDERED.

Dated: January 8, 2020                             __________________________________
       New York, New York                                   JESSE M. FURMAN
                                                          United States District Judge




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